EXHIBIT B
From:           ECFnotice@mad.uscourts.gov
To:             CourtCopy@mad.uscourts.gov
Subject:        Activity in Case 1:17-cv-12137-PBS Emerson v. Genocea Biosciences, Inc. et al Memorandum in Support of
                Motion
Date:           Tuesday, January 2, 2018 7:06:03 PM




This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT
RESPOND to this e-mail because the mail box is unattended.
***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States
policy permits attorneys of record and parties in a case (including pro se litigants) to
receive one free electronic copy of all documents filed electronically, if receipt is required
by law or directed by the filer. PACER access fees apply to all other users. To avoid later
charges, download a copy of each document during this first viewing. However, if the
referenced document is a transcript, the free copy and 30 page limit do not apply.

                                      United States District Court

                                        District of Massachusetts

Notice of Electronic Filing

The following transaction was entered by Leviton, Jason on 1/2/2018 at 7:05 PM EST and
filed on 1/2/2018
Case Name:           Emerson v. Genocea Biosciences, Inc. et al
Case Number:         1:17-cv-12137-PBS
Filer:               Omer Yuksel
                     Lirio Fiocchi
                     Scott C. Hartmann
                     Satya Kunapuli
                     Raul Zamudio
Document Number: 23

Docket Text:
MEMORANDUM in Support re [22] MOTION to Appoint Counsel , for
Consolidation of the Actions, and to Appoint Lead Plaintiff filed by Omer
Yuksel, Lirio Fiocchi, Scott C. Hartmann, Satya Kunapuli, Raul Zamudio.
(Attachments: # (1) Declaration ISO Motion, # (2) Exhibit, # (3) Exhibit, # (4)
Exhibit, # (5) Exhibit, # (6) Exhibit, # (7) Exhibit, # (8) Exhibit, # (9) Text of
Proposed Order)(Leviton, Jason)


1:17-cv-12137-PBS Notice has been electronically mailed to:

Daryl DeValerio Andrews     daryl@andrewsdevalerio.com, glen@andrewsdevalerio.com

Jason M. Leviton     jason@blockesq.com, pacer-blockleviton-9062@ecf.pacerpro.com

Kristi Lynn Jobson     kristi.jobson@ropesgray.com, courtalert@ropesgray.com
Mitchell J. Matorin     mjm@matorinlaw.com, mitchell-matorin-6100@ecf.pacerpro.com

Randall W. Bodner     randall.bodner@ropesgray.com, courtalert@ropesgray.com

Rhiana L. ySwartz     rswartz@scott-scott.com

Thomas L. Laughlin , IV     tlaughlin@scott-scott.com, efile@scott-scott.com,
ksteinberger@scott-scott.com

1:17-cv-12137-PBS Notice will not be electronically mailed to:

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:yes
Electronic document Stamp:
[STAMP dcecfStamp_ID=1029851931 [Date=1/2/2018] [FileNumber=7485378-0]
[d122d746afc55c15f8107071abd71603ab4ec2350a3fc0086844bedd580004be3c12
612fe592b1d29a58f11126e3e8f1bc2d1df03a37390ce21c773a4af220c7]]
Document description: Declaration ISO Motion
Original filename:yes
Electronic document Stamp:
[STAMP dcecfStamp_ID=1029851931 [Date=1/2/2018] [FileNumber=7485378-1]
[0c743a9582b801057baf00b945b824fee92b221ab0c0d925ae89c9676e55a101d6a0
b618feeb1b9440035717c63984ade2a2268c793e0bb834f38bebe546bc8d]]
Document description:Exhibit
Original filename:yes
Electronic document Stamp:
[STAMP dcecfStamp_ID=1029851931 [Date=1/2/2018] [FileNumber=7485378-2]
[03feec51d1263653fde8052fba5c57df5cc683a52a944df2a584b6348f101fdac2e2
eec2df4909ca4ad22358966553a0c63a5f6a597625876e201bdaa1770a03]]
Document description:Exhibit
Original filename:yes
Electronic document Stamp:
[STAMP dcecfStamp_ID=1029851931 [Date=1/2/2018] [FileNumber=7485378-3]
[c04ba72f8ca1e2a50a7cf6143bbfc9b6959562730f35e4bb9f8d04585104988d36d4
02cbe51bcd560c22398c218dee4a0311c156672a9f4f34381718f987265d]]
Document description:Exhibit
Original filename:yes
Electronic document Stamp:
[STAMP dcecfStamp_ID=1029851931 [Date=1/2/2018] [FileNumber=7485378-4]
[6b45de8b008786382b719dc6770d899379df98649498869fb78cd1269afbc290cd7c
a5fdf5ea3b48c3d34f88c69b25df246ace107ef257a4a57eb4ee02fa53d8]]
Document description:Exhibit
Original filename:yes
Electronic document Stamp:
[STAMP dcecfStamp_ID=1029851931 [Date=1/2/2018] [FileNumber=7485378-5]
[ab82bfd1aafca08fa700ba529bc5a41e3e005092e658c2141983f0946ef20b7954f1
c576a4c4e17b1a4f060ca8846f293d4b7a66d593e64683738a9222e759a5]]
Document description:Exhibit
Original filename:yes
Electronic document Stamp:
[STAMP dcecfStamp_ID=1029851931 [Date=1/2/2018] [FileNumber=7485378-6]
[63165c6f56021660a56ce677751cb6f58054272839e7110b3a5edb4704bd5abd2244
57ac59fe571ddbfc9d06b85b8fe3b4c27c3827e7ceee7428c9e147fb2ba7]]
Document description:Exhibit
Original filename:yes
Electronic document Stamp:
[STAMP dcecfStamp_ID=1029851931 [Date=1/2/2018] [FileNumber=7485378-7]
[37a4a2c8249e7fed6431f80eb5681d47a4e7d0f70515f4fb0c8896526cda22205a02
fcea0002250a8fc4ec62f1e640b93d9472087d242f866ce6f8ae97cfc052]]
Document description:Exhibit
Original filename:yes
Electronic document Stamp:
[STAMP dcecfStamp_ID=1029851931 [Date=1/2/2018] [FileNumber=7485378-8]
[d13c0f9a2292e2af015690e128ec63ba2bc4d1f2f1ebc5338cf246f9466fea3cf2a2
472917c559ef4b90c7a07f921fdf28af2411df01f5fb0a3814521f03bd24]]
Document description:Text of Proposed Order
Original filename:yes
Electronic document Stamp:
[STAMP dcecfStamp_ID=1029851931 [Date=1/2/2018] [FileNumber=7485378-9]
[3f6955cdfe6ea7a4a831a4afd3a2e0e67004ad9d17c1c0e66680d23cf2fd5fe126be
2cf3b2194f2caf7eaa5a807e1b1a4ef2ebd4f442764708d6de54930b5561]]
